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BY EMAIL

May 29, 2018

Kristina E. Barclay
Assistant U.S. Attorney
U.S. Attorney’s Office
John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 9200
Boston, MA 02210

Re: United States v. Gary DeCicco, Crim. No. 17-10092-NMG (D. Mass.)

Dear Kristina:

I write in response to your letter of May 25, 2018 and to certain information raised in the
government’s opposition to the motion to dismiss the indictment (Dkt. No. 309) (“Opposition” or
“Opp.”). This letter also makes additional requests for discovery in light of the government
productions that were made on May 24 and May 25, 2018.

Request 1: FBI Recording Equipment Provided to Mirnasiri
The government has now disclosed for the first time that it provided Medi Mirnasiri with recording
equipment. Please immediately produce all documents concerning the delivery and use of this
equipment to Mirnasiri, including any documents regarding the application and authorization for any
consensual recordings to be conducted by Mirnasiri; any documents regarding chain of custody of
the recording equipment, and written instructions or acknowledgements provided to or signed by
Mirnasiri; and any communications to or from Mirnasiri, FBI SA Jesse Chizmadia, or anyone on the
prosecution team regarding the equipment, its use, or any recordings or attempted recordings arising
thereof.

Request 2: Attempted Recording Made by Mirnasiri
The government disclosed that Mirnasiri “has a memory of trying to record an individual not
associated with this case, but no such recordings exist.” Please confirm that this individual is not
listed on the government’s or the defense’s witness lists in this case. If you cannot do so, please
immediately disclose his or her identity. Please also produce all documents regarding this attempted
recording and explain what the government means by “no such recordings exist,” including the basis
for this statement and a description of what efforts were conducted to ascertain that “no such
recordings exist.”
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Request 3: Government Attempts to Obtain Mirnasiri’s Telephone Records
The government’s Opposition implies, but does not state outright, that April 2017 was the first time
the government ever sought telephone toll or billing records regarding the events described in
Mirnasiri’s report to the SPD in August 2014. See, e.g., Opp. at 4, 14. Please confirm that the
government has never had any of Mirnasiri’s telephone records—whether tolling, billing, or
otherwise—from within the relevant time period (2013-January 11, 2015) in its possession, custody,
or control, until May 17, 2018.

Request 4: Communications between TFO Mark Frenzo and Mirnasiri
The government disclosed on May 24, 2018 that Task Force Officer (TFO) Mark Frenzo was in
contact with Mirnasiri during the relevant time period. The defense has since located dozens of
contacts between the two. TFO Frenzo is a member of the prosecution team. See
USAO_DECICCO_00003167. Please immediately produce all notes and communications between
TFO Frenzo and Mirnasiri.

Request 5: Communications between SA Chizmadia and Mirnasiri (12/1014-1/12/15)
The government has not produced any text messages between SA Chizmadia and Mirnasiri between
December 10, 2014 and January 12, 2015. Given that SA Chizmadia and Mirnasiri purportedly met
on December 28, 2014, and given that the two often confirmed meetings or telephonic interviews
directly before they occurred, it seems unlikely that there are no text or call communications during
this time period. Please review any other phone numbers that SA Chizmadia or Mirnasiri may have
used during this time period and produce all text messages between them that have not yet been
produced from August 2014 until the present.

Request 6: Identity of “Lou”
SA Chizmadia twice refers to a “Lou” in his text messages who appeared to accompany him to
interviews with Mirnasiri. See USAO_DECICCO_00025708; USAO_DECICCO_00024502.
Please identify him.

Request 7: Missing Interview Reports of Mirnasiri
Seventh, please produce all missing interview reports of Mirnasiri, including on during which SA
Chizmadia’s text messages indicate that he spoke or met with Mirnasiri. A chart of the meetings for
which no corresponding report has been produced is as follows:

                                 Date                           Meeting/Call
                                 September 30, 2014             Meeting
                                 January 13, 20151              Meeting
                                 January 14, 2015               Call
                                 January 18, 2015               Meeting

1
 An FD-302 exists for this meeting, but does not memorialize the information exchanged from Mirnasiri to SA
Chizmadia. See Section I.A, supra.




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                            Date                      Meeting/Call
                            February 18, 2015         Meeting
                            April 20, 2015            Call
                            July 29, 2015             Meeting
                            November 9, 2015          Call
                            June 1, 2016              Call
                            September 26, 2016        Meeting
                            January 11, 2017          Meeting
                            January 31, 2017          Call
                            February 15, 2017         Meeting
                            March 13, 2017            Meeting
                            March 20, 2017            Call
                            March 27, 2017            Meeting
                            April 7, 2017             Call
                            May 30, 2017              Call
                            June 27, 2017             Call
                            July 10, 2017             Meeting
                            September 14, 2017        Meeting
                            September 19, 2017        Meeting


See USAO_DECICCO_00025706-739; USAO_DECICCO_00024502.

Request 8: Communications between FBI SA Rankins and Mirnasiri
Please produce all communications between FBI Special Agent Tarah Rankins and Mirnasiri from
the relevant time period.

Request 9: Missing Notes and Reports regarding 2014 FBI Investigation into Mr. DeCicco
The government continues to represent to the Court that “there was no active FBI investigation into
the attempted extortion before December 28, 2014.” Opp. at 12. The government further downplays
the number and length of contacts with SA Chizmadia. The telephone and text message records,
however, indicate that SA Chizmadia and Mirnasiri met in person before December 28, 2014 at least
once, on September 30, 2014.

       Mirnasiri:            I’m here please come. (2:19 p.m.)

       SA Chizmadia:         On way (2:27 p.m.)

       Mirnasiri:            Ok (2:28 p.m.)




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The records also reflect several calls between SA Chizmadia and Mirnasiri lasting over 5 minutes
during the August 2014-December 28, 2014 time period. Please immediately produce all notes and
reports by SA Chizmadia regarding Mirnasiri during this August-December 2014 time period.

Request 10: Documents Concerning Lou
The defense has identified from the late-produced phone records of Mirnasiri an individual named
Lou                 , who appeared to be in close contact with Mirnasiri both before and after
Mirnasiri’s communications with SA Chizmadia. Please produce all documents and
communications in the government’s possession, custody, and control regarding Lou
including documents concerning any attempts Lou                    (hereinafter, “Lou”) made in the
relevant time period to obtain a consensual recording of Mr. DeCicco.

Specifically, the defense has a good faith basis to request these records for several reasons. First,
“Lou” has made public allegations against municipal officials during the relevant time period, which
gives rise to the inference that he may be actively cooperating with federal law enforcement in
parallel. Second, SA Chizmadia refers to a “Lou” in several of his text messages produced to the
defense. The first reference to “Lou” was on August 4, 2015, when SA Chizmadia canceled a
meeting with Mirnasiri that night due to a meeting with “Lou”:

       Medi, I apologize, I will not be able to make it tonight. Lou is planning to stop
       by, will touch base with you next week to hear some stories.

Notably, this reference appears shortly after Mirnasiri is reactivated as an FBI source in July 2015.
See Dkt. No. 3-1. The second reference to “Lou” was on May 24, 2016:

       Lou and I will come and see you next week, may have a few more names to run
       by you.

Third, it is clear from these text messages and Minrasiri’s telephone records that SA Chizmadia,
“Lou,” and Mirnasiri are working together on this investigation.

On August 4, 2014, Mirnasiri contacted “Lou” shortly after he received the flowers and before the
Saugus Police arrived at AEG at 3 p.m, while Mirnasiri was conducting his own investigation (GJ 38
L 24-25). He exchanged text messages with “Lou” during that time and again after the police left:

August 4, 2014

Between      Flowers Delivery between noon and 1 p.m.
noon & 1p.m.
2:46 PM        Text from Mirnasiri to “Lou”
2:55 PM        Text from Mirnasiri to “Lou”
3:00 PM        Saugus Police receive call from Mirnasiri
6:05 PM        Text from “Lou” to Mirnasiri




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6:07 PM        Text from Mirnasiri to “Lou”
7:17 PM        Text from “Lou” to Mirnasiri
7:21 PM        Text from “Lou” to Mirnasiri
From August 8 through August 26, 2014, Mirnasiri and “Lou” spoke with each other and exchanged
text messages a total of 34 times. Significantly, on August 26—the day before Mirnasiri reached
out to SA Chizmadia—he had multiple communications with “Lou.” At 12:10 p.m., “Lou” called
Mirnasiri, and they spoke for 2 minutes. Later that day, at 5:38 p.m., Mirnasiri called “Lou,” and a
short call occurred. And at 8:43 p.m., “Lou” sent a text to Mirnasiri. Mirnasiri called SA
Chizmadia the next day.

On August 28, Mirnasiri and SA Chizmadia appeared to connect at 3:27 p.m. Later that
afternoon/evening, Mirnasiri and “Lou” exchanged 4 text messages. The calls between Mirnasiri
and “Lou” are telling. They include the day of the flower delivery and intensified up to the day on
which Mirnasiri reached out to the FBI. These suggest that Mirnasiri and “Lou” are somehow
connected to initiating the FBI investigation into Mr. DeCicco, and that “Lou” perhaps was the one
who provided Mirnasiri with SA Chizmadia’s contact information.

The calling pattern that ensued between Mirnasiri and “Lou,” on one hand, and Mirnasiri and SA
Chizmadia, on the other, also create a compelling inference of collaboration between “Lou,”
Mirnasiri, and SA Chizmadia during the period of the stealth investigation. For example, on August
28, Mirnasiri had a short call with SA Chizmadia. The next day, August 29, Mirnasiri and “Lou”
had a total of 15 calls and text messages. The two continued to communicate on August 30 (2 calls),
August 31 (1 call), September 1 (1 call), and September 2 (1 call).

This pattern continued through September. For example, on September 3, Mirnasiri placed another
call to SA Chizmadia at 6:43 p.m., followed by 5 text messages with “Lou.” On September 5,
Mirnasiri spoke with “Lou” at 1:53 p.m., and then received a call from SA Chizmadia at 4:06 p.m.
SA Chizmadia called Mirnasiri on September 12 at 11:01 a.m., and Mirnasiri exchanged 3 texts with
“Lou” later that night.

On the morning of September 16, Mirnasiri had a call with “Lou” at 8:09 a.m. At 8:46 a.m., Mr.
DeCicco called “Lou.” “Lou” and Mr. DeCicco had communications back in March 2014, at
“Lou”’s initiative, when Mirnasiri was having financial difficulties and was unable to pay
contractors who worked on the AEG building site. (As noted, “Lou” has since maintained publicly
that local officials engaged in wrongdoing during the relevant time period.) From March 2014
through September 2014, Mr. DeCicco had at least 20 calls with “Lou.” On September 16, 2014,
after “Lou” and Mr. DeCicco had spoken, Mirnasiri had another call with “Lou.”

The next day, September 17, Mr. DeCicco placed a call to Mirnasiri, and left a voicemail message
for him. Moments later, Mirnasiri retrieved the voicemail, and then followed up with a 13-minute
call with Mr. DeCicco. (The voicemail Mr. DeCicco left on Mirnasiri’s phone has not been
produced by the government.) The following morning, on September 18 at 7:58 a.m., Mirnasiri
called “Lou,” and then called SA Chizmadia an hour later at 8:52 a.m. A similar calling pattern




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occurred the next day, September 19. At 9:33 a.m., SA Chizmadia called Mirnasiri. At 2:51 p.m.,
Mirnasiri called “Lou.”

Over the next few days, Mirnasiri and “Lou” continued to speak frequently: September 22 (5
calls/texts), September 23 (5 texts). Then on September 25, “Lou” called Mr. DeCicco following an
earlier call with Mirnasiri. Minutes later, “Lou” called Mirnasiri. That day, “Lou” and Mirnasiri
had 3 calls and exchanged 3 text messages.

On September 26, 2014, “Lou” and Mirnasiri exchanging text messages at 9:07 a.m. and 9:30 a.m.
At 10:15 a.m., SA Chizmadia then called Mirnasiri. And at 12:57 p.m., “Lou” called Mr. DeCicco.
They spoke twice at 12:57 p.m. and again at 1:01 p.m. On September 27, Mirnasiri and “Lou”
exchanged 4 text messages. On September 28, “Lou” and Mr. DeCicco spoke in the afternoon;
Mirnasiri sent a text message to “Lou” that night. On these three days in late September of 2014,
there were multiple communications between Mirnasiri and “Lou,” and key calls between “Lou” and
Mr. DeCicco.

All of these events led to the in-person meeting between Mirnasiri and SA Chizmadia on September
30. The key events that occurred on September 30 are set forth in the following call/text chart:

September 30, 2014

9:55 AM        1-min call from Mirnasiri to Chizmadia
12:50 PM       2-min call from Mirnasiri to “Lou”
2:19 PM        Text from Mirnasiri to Chizmadia: “I’m here please come.”
2:27 PM        Text from Chizmadia to Mirnasiri: “On way”
2:28 PM        Text from Mirnasiri to Chizmadia: “Ok”
4:47 PM        1-min call from Chizmadia to Mirnasiri


Throughout the month of October 2014, Mirnasiri continued his frequent communications with
“Lou,” speaking and text messaging with him on a regular basis. Mirnasiri also kept in close contact
with SA Chizmadia, holding calls with him on October 15 and October 22. On both those dates,
Mirnasiri had calls with “Lou” both before and after Mirnasiri spoke with SA Chizmadia, as shown
on the call chart below:

October 15, 2014
8:03 AM        1-min call from Mirnasiri to “Lou”
8:08 AM        1-min call from Mirnasiri to “Lou”
8:53 AM        7-min call from Mirnasiri to Chizmadia
11:28 AM       Text from “Lou” to Mirnasiri




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2:14 PM        2-min call from “Lou” to Mirnasiri
9:59 PM        10-min call from Mirnasiri to “Lou”
October 22, 2014
8:51 AM        1-min call from Mirnasiri to “Lou”
9:01 AM        3-min call from Mirnasiri to Chizmadia
9:58 AM        Text from “Lou” to Mirnasiri
11:08 AM       Text from Mirnasiri to “Lou”
1:31 PM        Text from “Lou” to Mirnasiri
1:32 PM        Text from Mirnasiri to “Lou”
5:51 PM        Text from “Lou” to Mirnasiri
5:52 PM        Text from “Lou” to Mirnasiri
6:03 PM        Text from Mirnasiri to “Lou”
Given the above evidence, please produce records of any text messages and calls between “Lou” and
the FBI. Please also produce records of text messages between “Lou” and Mirnasiri, which have
obvious relevance and import in this case given the high probability that “Lou” was an integral part
of the government’s investigative team.
Request 11: Video Clip Sent by Mirnasiri to SA Elio
Please identify the object captured in the image Mirnasiri sent to SA Elio on March 28, 2018,
including the license plate number and the relevance of the image to this case. See
USAO_DECICCO00025700.
Request 12: Provision of SA Chizmadia’s Cellular Phone Number to Mirnasiri
Finally, the government stated that Mirnasiri “could not have called SA Chizmadia’s cellular
telephone number unless someone from SPD or the FBI provided it to him and thereby invited the
call.” See Opp. at 3 at n.3. Please provide the basis for the government’s statement and produce all
documents and information concerning this alleged communication with Mirnasiri “invit[ing]” him
to call the FBI.

Please call me at (617) 521-7050 if you have any questions about the foregoing.

Sincerely,



Thomas C. Frongillo




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